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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION

TRUSTEES OF OHIO BRICKLAYERS                       )      CASE NO. 1:20-CV-200
HEALTH AND WELFARE FUND                            )
P.O. Box 645652                                    )      JUDGE
Cincinnati, OH 45215                               )
                                                   )
        and                                        )
                                                   )
TRUSTEES OF OHIO BRICKLAYERS                       )
PENSION FUND                                       )
P.O. Box 645652                                    )
Cincinnati, OH 45215                               )
                                                   )
        and                                        )
                                                   )
BRICKLAYERS AND ALLIED                             )
CRAFTWORKERS DISTRICT COUNCIL                      )
OF WEST VIRGINIA                                   )
19 Middletown Road                                 )
White Hall, WV 26554                               )
                                                   )
                     Plaintiffs,                   )      COMPLAINT FOR
                                                   )      INJUNCTIVE RELIEF
vs.                                                )      AND MONEY DAMAGES
                                                   )
NATERNICOLA’S MASONRY, LLC                         )
626 Maryland Avenue                                )
Fairmont, WV 26554                                 )
                                                   )
        and                                        )
                                                   )
KIRK NATERNICOLA                                   )
626 Maryland Avenue                                )
Fairmont, WV 26554                                 )
                                                   )
                  Defendants.                      )
________________________________________           )

        1.    This action is brought by the Trustees of the Ohio Bricklayers Health and Welfare

Fund and Trustees of the Ohio Bricklayers Pension Fund (collectively “Funds”), and Bricklayers

and Allied Craftworkers District Council of West Virginia (“Union”), pursuant to Section 301 of
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the Labor-Management Relations Act (“LMRA”), as amended, 29 U.S.C. § 185, and Sections

409(a), 502(a)(3), (e), (f), & (g) and 515 of the Employment Retirement Income Security Act of

1974 (“ERISA”), as amended 29 U.S.C. §§1109, 1132a)(3), (e), (f), and (g) and 1145.

       2.      The Funds are multi-employer plans under Section 3(37)(A) of ERISA, 29 U.S.C.

§ 1002(37)(A), which are maintained pursuant to the collective bargaining agreements between

Naternicola’s Masonry, LLC (“the Company”) and the Union. The Funds are trust funds

established in accordance with Section 302 of the LMRA, 29 U.S.C. § 186, for the purpose of

providing health care, pension, and related benefits for participants and their dependents.

       3.      The Funds bring this action by and through their trustees. These trustees are

fiduciaries within the meaning of ERISA Section 3(21), 29 U.S.C. §1002(21). The Funds are

located in Hamilton County, Ohio.

       4.      The Union is a labor organization within the meaning of Section 2(5) of the LMRA,

29 U.S.C. § 152(5).

       5.      The Company is an employer and party in interest in an industry affecting

commerce within the meaning of Sections 3(5), (11), (12) and (14) of ERISA (29 U.S.C.

§§1002(5), (11), (12) and (14)) and an employer in an industry affecting commerce within the

meaning of 29 U.S.C. §§ 152(2), (6), and (7).

       6.      Defendant Kirk Naternicola is an owner and officer of the Company and is a

fiduciary within the meaning of ERISA, 3(21), 29 U.S.C. §1002(21).

       7.      Venue and jurisdiction are properly conferred upon this Court by 28 U.S.C. §§1331,

1367, and 29 U.S.C. §1132(e).




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                               COUNT I
        BREACH OF COLLECTIVE BARGAINING AGREEMENTS AND PLAN
                             DOCUMENTS

        8.     The foregoing paragraphs are incorporated by reference.

        9.     The Company is signatory to and bound by the Statewide Agreement for Non-

Association Employers (“Statewide Agreement”), which the Company signed on or about January

12, 2010, and which continues in effect absent either party’s timely written notice of termination

or negotiation and signing of a new agreement. A true copy of the Statewide Agreement is attached

hereto as Exhibit A.

        10.    The Statewide Agreement requires the Company to abide by the wage and benefits

provisions that are set forth in local union collective bargaining agreements between contractors’

associations and the Union, and its affiliated Local Unions 1, 5, 6, 9, 11, and 15.

        11.    By signing the Statewide Agreement, the Company was bound to pay contributions

and otherwise abide by the terms of the collective bargaining agreements for work done in the

geographic jurisdiction of each Local Union. The Local Union CBAs are not attached hereto due

to their length and the fact that all parties to this case are party to the CBAs and have copies of

them.

        12.    The Company agreed to submit timely and accurate monthly reports to the Funds

with respect to all its employees performing covered work and to make contributions to the Funds

in accordance with the terms and conditions of the Local Union CBAs.

        13.    Although the Company performed work for which contributions were owed, the

Company failed to submit reports and contributions to the Funds in accordance with the terms and

conditions of the Local Union CBAs and/or the Funds’ plan documents for work covered by the

Local Union CBAs.


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       14.     Each failure by the Company to submit the required reports and contributions to

the Funds in a timely manner is a breach of the Local Union CBAs and/or the Funds’ plan

documents. Each such breach violates both Section 515 of ERISA (29 U.S.C. §1145) and Section

301 of the LMRA (29 U.S.C. § 185).

       15.     When the Company fails to make timely contribution payments, it is required to

pay liquidated damages and interest as calculated by the Funds pursuant to the Local Union CBAs,

the Funds’ plan documents, and the Employer Delinquency Procedures adopted by the Fund

Trustees.

       16.     Pursuant to the Local Union CBAs, the Funds’ plan documents, the Employer

Delinquency Procedures, and ERISA, the Company is obligated to pay reasonable attorneys’ fees

and costs (including but not limited to audit fees and costs) incurred in collecting delinquent

contributions, liquidated damages, and interest.

       17.     During the period October 2019 to present, the Company has failed to submit

reports and pay contributions to the Funds, and, therefore, is liable for contributions, liquidated

damages, interest, attorneys’ fees, and costs.

       18.     The Company has also failed to pay dues to the Union as required by the terms of

the Local Union CBAs.

                                       COUNT II
                               BREACH OF FIDUCIARY DUTY

       19.     The foregoing paragraphs are incorporated by reference.

       20.     The Funds’ plan documents provide that delinquent contributions are the Funds’

assets when due and owing.

       21.     Defendant Kirk Naternicola at all relevant times was the owner and officer of the

Company.

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       22.      Defendant Kirk Naternicola at all relevant times had the authority to obligate the

Company.

       23.      Defendant Kirk Naternicola was at all relevant times the principal officer of the

Company and responsible for obligations of the Company.

       24.      Defendant Kirk Naternicola had authority to spend money on behalf of the

Company and had the authority to make decisions about how the Company spent its money.

       25.      Defendant Kirk Naternicola chose to pay other creditors, rather than pay the money

owed to the Funds.

       26.      By exercising authority and control over the Company’s delinquent contributions

that were owed to the Funds, defendant Kirk Naternicola was a fiduciary pursuant to the Funds’

plan documents, as well as under Section 3(21)(A)(i) of ERISA, 29 U.S.C. §1002(21)(A)(i). As a

fiduciary, defendant Kirk Naternicola owed fiduciary duties to the Funds and their participants,

with such duties being set forth in Sections 404(a), 406, and 408 of ERISA, 29 U.S.C. §§1104(A),

1106), and 1108.

       27.      Defendant Kirk Naternicola breached his fiduciary duties by failing to remit

employer contributions to the Funds and by diverting such contributions for other purposes. In

doing so, defendant Naternicola failed to discharge his fiduciary duties with respect to the Funds

by not acting solely in the interest of the participants and beneficiaries:

              i.   in violation of Section 404(a)(1)(A)(i) of ERISA, 29 U.S.C. §1104(a)(1)(A)(i);

                   and

             ii.   causing the Funds’ participants to suffer a loss of benefits and rights to which

                   they were entitled under the terms of the plan documents.




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       28.     By the aforementioned acts, errors and omissions described herein, defendant Kirk

Naternicola breached his fiduciary duties with respect to the Funds.

       29.     Pursuant to Section 409(a) of ERISA, 29 U.S.C. §1109, defendant Kirk Naternicola

is personally liable to make good to the Funds’ participants for all losses resulting from such

breaches.

                                   COUNT III
                      PROHIBITED TRANSACTION UNDER ERISA

       30.     The foregoing paragraphs are incorporated by reference.

       31.     Defendant Kirk Naternicola is a fiduciary and party in interest, as defined by

ERISA Section 3(21) and (14), 29 U.S.C. §1002(21) and (14).

       32.     Defendant Kirk Naternicola permitted the diversion or lending of employer

contributions from the Funds for his own interest and for the benefit of a party in interest, the

Company, which is a prohibited transaction under ERISA in violation of Section 406(a) and (b) of

ERISA, 29 U.S.C. §1106(a) and (b).

       WHEREFORE, Plaintiffs demand the following:

       1)    An order granting judgment in favor of the Funds and against the Company on Count

             I as follows:

               a.     A declaratory order that the Company violated the Local Union CBAs by

                      failing to report as required by the CBAs, failing to pay contributions, and

                      failing to pay liquidated damages, and interest;

               b.     An order requiring the Company to submit all missing contribution reports

                      and to timely submit all such reports in the future;




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        c.      A monetary judgment against the Company for all unpaid contributions,

                interest, and liquidated damages owed under all missing contribution

                reports;

        d.      A permanent injunction against the Company pursuant to Section

                502(g)(2)(E) of ERISA prohibiting future violations of Section 515 of

                ERISA, 29 U.S.C. §1145, with respect to all Funds;

        e.      Reasonable attorneys’ fee and costs (including, but not limited to, audit fees

                and costs) incurred in this action as mandated by the CBAs, plan documents,

                and 29 U.S.C. §1132(g); and

        f.      Post-judgment interest pursuant to 28 U.S.C. §1961.

  2)    An order granting judgment in favor of the Union and against the Company on

        Count I for all unpaid dues, late fees, interest, and any other amounts due and owing

        under the Union CBAs;

  3)    An order granting judgment against defendant Kirk Naternicola on Counts II and

        III as follows:

        a.      An order finding that Kirk Naternicola breached his fiduciary duty to the

                Funds;

        b.      An order finding that Kirk Naternicola engaged in prohibited transactions

                under ERISA;

        c.      An order that Kirk Naternicola is personally liable as well as jointly and

                severally liable to the Funds for all losses resulting from such fiduciary

                breach and prohibited transactions, including delinquent contributions,




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               liquidated damages, interest, attorneys’ fees, and costs, as provided by the

               Local Union CBAs, plan documents, and ERISA;

        d.     A monetary judgment against Kirk Naternicola for all unpaid contributions,

               interest and liquidated damages owed under all missing contribution

               reports;

        e.     Reasonable attorneys’ fees and costs incurred in this action as mandated by

               the Local Union CBAs, plan documents, and 29 U.S.C. §1132(g); and

        f.     Post-judgment interest pursuant to 28 U.S.C. §1961.

  4)    An Order awarding such other legal or equitable relief that this Court may deem

        necessary and appropriate, including judgment for any contributions, and/or any

        interest thereon that may accrue subsequent to the filing of this Complaint, as well

        as any resulting delinquency assessments thereon.

                                      Respectfully submitted,

                                      GOLDSTEIN GRAGEL LLC

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